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07495-59557(RER)

FOR THE WESTERN D|STR|CT OF TENNESSEE

SCOTT|E PR|VETT and

D|ANA PR|VETT,
P|aintiffs,

VS.

WELD WHEEL |NDUSTR|ES, lNC.,
WELD D|STR|BUT|ON, lNC., and
WELD RAC|NG, lNC.,

Defendants.

lN THE UNITED STATES D|STR|CT COURT

EASTERN D|VlSlON

 

No. 1-05-1131-TIAN

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RULE 16(b) SCHEDUL|NG ORDER

 

Pursuantto the scheduling conference set by Written notice, the following dates were

established as the final dates for:

iNiTiAi_ oisCLosUREs (Rule 26(3)(1)); september 13, 2005

|V|OT|ONS TO Al\/lEND PLEAD|NGS AND JO|N PART|ES:

For P|aintiff: Septernber 30, 2005
For Defendant: October 31, 2005
D|SCOVERY:
(a) REQUESTS FOR PRODUCTION, |NTERROGATOR!ES AND

(C)

REQUESTS FOR ADl\/||SS|ONS: February 28, 2006
(i) Eacn party is limited to thirty (30) interrogatories

EXPERT D|SCLOSURE (Ru|e 26(a)(2)):

(i) P|aintiff’s Experts: January 16, 2006

(ii) Defendant’s Experts: February 16, 2006

(iii) Suppiementation under Ru|e 26(e): February 27, 2006

DEPOS|T|ONSZ |V|ar'Ch 31, 2006

This document entered on the docket sheet ln com llanco

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(i) Each deposition is limited to a maximum of one (1) seven (7)
hour day.

(d) SUPPLEMENTAT|ON: Supplementation under Rule 26(e) due as
required by the Federal Ru|es of Civi| Procedure but no less than sixty
(60) days before the date of trial without leave of court or by
agreement of the parties

FiLlNc oisPoslTivE ivionoNs; Aprii 24, 2000
i=iN/-\L LisTs oF wiTNEssEs AND ExHisiTs (Ruie 26(3)(3));

(a) for Plaintiff: June 9, 2006
(b) for Defendant: June 23, 2006

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 to 3 days and is SET for JURY TRlAL
beginning July 24, 2006 at 9:30 a.m. Ajoint pretrial order is due on Ju|y ‘l4, 2006. |n the
event the parties are unable to agree on a joint pretrial order, the parties must notify the
court at least ten days before trial. A pretrial conference may be scheduled upon request
of the parties

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FED R. Clv. P. allow 30 days for
a party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery

l\/lotions to compel discovery are to be filed and served by the discovery deadline
or within 30 days ofthe default or service ofthe response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded the pursuant to l_ocal Rule 7(a)(1)(A) and (a)(t)(B), all
motions, except motions pursuant to FED R. Clv. P. 12, 56, 59, and 60, shall be
accompanied by a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. lf a party believes

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that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

At this time, the parties have notgiven consideration to whether they wish to consent
to trial before the magistrate judge The parties will file a written consent form with the
court should they decide to proceed before the magistrate judge

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discoverv.

This order has been entered after consultation With trial counsel pursuant to notice

Absent good cause shownl the scheduling dates set by this Order will not be modified or
extended

|T lS SO ORDERED.

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S. THOMAS ANDERSON
UN|TED STATES MAG|STRATE JUDGE

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07495-59557(RER)

APPROVED FOR ENTRY:.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01131 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable James Todd
US DISTRICT COURT

